IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

 

AT CHATTANOOGA
MEADWESTVACO, INC., and )
MW CUSTOM PAPERS, LLC, ) l l l 0 ©
) Case No. , _, v '
Plaintiffs, ) CA/ 35
)
v. ) 4 '
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UNITED STATES OF AMERICA, )
acting through THE GENERAL )
SERVICES ADMINISTRATION, )
) .
Defendant. ) §§ N
CoMPLAINT ;~::>,jfi`f" </.» =“=»;.»":
MeadWestvaco, Inc. and MW Custom Papers, LLC (collectively “M ad” §;€§Plaintiffs’§;),...
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alleges: § :; ]> § ' }
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NATURE oF THE ACTIoN §§ "` .»..-
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l. Mead seeks cost recovery and contribution under the Comprehensive

Environmental Response, Compensation, and Liability Act, as amended, 42 U.S.C. §§ 9601 et
seq. (“CERCLA”) With regard to certain areas of hazardous substance contamination in and
around Chattanooga, Tennessee.

2. Mead has incurred environmental sampling and clean up costs, inter alia, in and
around Chattanooga. Because Defendant United States of America, acting through the Defense
Plant Corporation, for Whom the United States General Services Administration acts today in a
representative capacity, caused or contributed to the environmental contamination addressed by

Mead, the United States of America is liable for cost recovery under CERCLA § 107 and,

alternatively, for contribution under CERCLA § 113.

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BACKGROUND

3. The Tennessee Products and Chemical coke plant facility sits on approximately
24 acres at 4800 Central Avenue in Chattanooga, Tennessee (the “Coke Plant”).

4. Starting around 1913 and spanning approximately 75 years, coke production
occurred at the Coke Plant facility.

5. First established in 1913 by Chattanooga Gas and Coal Products, the site was later
purchased by Chattanooga Coke and Gas Company. ln 1926, Tennessee Products and Chemical
Company (“Tennessee Products”) acquired the Coke Plant.

6. The United States, through the Defense Plant Corporation, owned and/or operated
the Coke Plant from approximately 1941 through 1946. The United States, through the Defense
Plant Corporation, purchased a portion of the Coke Plant property from Tennessee Products in
March 1941. The United States also purchased certain equipment for use on the Coke Plant, and
then leased the land and equipment owned by the United States back to Tennessee Products in
exchange for annual rental payments The United States sold the portion of the Coke Plant it
owned, and the associated equipment, back to Tennessee Products in June 1946.

7. During the years 1941-1946, Tennessee Products continued to own part of the
Coke Plant property and conducted coke-making activities on the Coke Plant. Tennessee
Products continued its coke-making activities on the Coke Plant after it purchased the portions of
the real property and equipment owned by the United States from the United States in June 1946.
Tennessee Products sold the Coke Plant to Woodward Iron Co. on or about January 1, 1964.

8. The Mead Corporation, predecessor to MW Custom Papers LLC, acquired the
Coke Plant in a merger with Woodward lron Co. in 1968 and operated the Coke Plant until the

Mead Corporation sold the Coke Plant on or about May 31, 1974.

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9. During the United States’ activities at the Coke Plant, the United States released
“hazardous substances, pollutants and contaminants” within the meaning of CERCLA into the
environment in and from the Coke Plant.

10. Mead incurred CERCLA response costs totaling not less than $3,666,774.59 with
regard to the Coke Plant as of June 5, 2009.

JURISDICTION AND VENUE

11. This Court has jurisdiction over the parties and allegations in this Complaint
pursuant to 28 U.S.C. §§ 1331 and 1346; and, 42 U.S.C. §§ 9607 and 9613(b). Venue is
appropriate in this District pursuant to 28 U.S.C. § 1391(b), because a substantial portion of the
acts and omissions that give rise to these claims occurred within this District, and pursuant to 42
U.S.C. § 9613(b), because Plaintiffs’ hazardous substance releases occurred and Mead’s
damages were incurred in this District.

CAUSES OF ACTION
Count I: Cost Recovery Pursuant to CERCLA § 107

12. Mead incorporates as if fully restated herein the allegations of Paragraphs 1-11
above.

13. Defendant is a “person” as that term is defined under CERCLA pursuant to 42.
U.S.C. § 9601 (21).

14. The Coke Plant constitutes a “facility” as that term is defined under CERCLA
pursuant to 42 U.S.C. § 9601 (9).

15. Defendant caused releases and threatened releases of CERCLA hazardous

substances in the environment at, from, and into the Coke Plant.

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16. Defendant owned and/or operated the Coke Plant during the time hazardous
substances were disposed of and released at the Coke Plant, within the meaning of 42 U.S.C. §
9607.

17. Defendant arranged for the disposal of the hazardous substances at the Coke
Plant, within the meaning of 42 U.S.C. § 9607.

18. The releases and threatened releases by Defendant caused Mead to incur
necessary costs of response within the meaning of CERCLA.

19. The response costs incurred by Mead were consistent with the CERCLA National
Contingency Plan.

20. Defendant is a liable party under 42 U.S.C. § 9607(a), thereby entitling Mead to
recover, jointly and severally from Defendant, the response costs incurred with regard to the
Coke Plant.

Count II: Contribution Pursuant to 42 U.S.C. § 9613

21. Mead incorporates as if fully restated herein the allegations of Paragraphs 1-11
above.

22. Defendant is a “person” as that term is defined under CERCLA pursuant to 42.
U.S.C. § 9601 (21).

23. The Coke Plant constitutes a “f`acility” as that term is defined under CERCLA
pursuant to 42 U.S.C. § 9601 (9).

24. Defendant has caused releases and threatened releases of CERCLA hazardous

substances in the environment at, from, and into the Coke Plant.

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25. Defendant owned and/or operated the Coke Plant at the time those hazardous
substances were disposed of and released at the Coke Plant, within the meaning of 42 U.S.C. §
9607.

26. Defendant arranged for the disposal of hazardous substances at the Coke Plant,
within the meaning of 42 U.S.C. § 9607.

27. The releases and threatened releases by Defendant caused Mead to incur
necessary costs of response within the meaning of CERCLA.

28. The response costs incurred by Mead were consistent with the CERCLA National
Contingency Plan.

29. Defendant is a liable party under 42 U.S.C. § 9607(a), thereby entitling Mead to
recover from Defendant an equitable share of the response costs incurred with regard to the Coke
Plant, pursuant to 42 U.S.C. § 9613.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court:

A. Pursuant to Count I, enter judgment in favor of Mead and against Defendant,
jointly and severally, for costs and damages, not less than $3,666,774.59, incurred by Mead at or
with regard to the Coke Plant, plus interest.

B. Pursuant to Count II, enter judgment in favor of Mead and against Defendant, for
an equitable share of costs and damages, including interest, incurred by Mead at or with regard to
the Coke Plant.

C. Award Mead such other relief as may be just and appropriate

This 3rd day of September, 2010.

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Respe lly submitted~,

y:
ID C. HIGNEY (BP # 01 8 )
NT, KONVALIN & H lSON
633 Chestnut Street, Suite 900

Chattanooga, TN 37450
(423) 756-8400
dhi e c.com

 
 

 

   

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Of Counsel:

CHRISTOPHER D. THOMAS
Squire, Sanders & Dempsey, L.L.P.
1 E. Washington Street, Suite 2700
Phoenix, AZ 85004

(602) 528-4044

Attorneysfor Plaintijj@

MeadWestvaco, Inc. and
MW Custom Papers, LLC

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